Case 1:21-cv-01015-JLH       Document 657        Filed 12/05/24     Page 1 of 4 PageID #: 48954




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

  NIPPON SHINYAKU CO., LTD.,                        )
              Plaintiff,                            )
                                                        C.A. No. 21-1015 (JLH)
                                                    )
  v.                                                )
                                                        DEMAND FOR JURY TRIAL
                                                    )
  SAREPTA THERAPEUTICS, INC.,                       )
              Defendant.                            )

  SAREPTA THERAPEUTICS, INC. and THE                )
  UNIVERSITY OF WESTERN AUSTRALIA,                  )
              Defendant/Counter-Plaintiffs,         )
                                                    )
  v.                                                )
                                                    )
  NIPPON SHINYAKU CO., LTD. and NS                  )
  PHARMA, INC.,                                     )
                Plaintiff/Counter Defendants.       )

         MOTION FOR EXEMPTION OF PERSONS FROM THE DISTRICT OF
       DELAWARE’S MAY 17, 2024 STANDING ORDER ON PERSONAL DEVICES
        Plaintiff/Counter-Defendant Nippon Shinyaku Co., Ltd. and Counter-Defendant NS

 Pharma, Inc. (“NS”) hereby move for an order to exempt certain persons from the District of

 Delaware’s May 17, 2024 Standing Order on Procedures Regarding the Possession and Use of

 Cameras and Personal Electronic Devices by Visitors to the J. Caleb Boggs Federal Building and

 United States Courthouse (the “May 17 Standing Order”). In support of this Motion, the Parties

 state as follows:

        1.      The District of Delaware’s May 17, 2024 Standing Order provides procedures to

 regulate the possession and use of personal electronic devices by visitors to the J. Caleb Boggs

 Federal Building and United States Courthouse, which require inter alia, for visitors to place

 personal electronic devices in a locked pouch provided by U.S. Marshals. Paragraph 4 of the May

 17, 2024 Standing Order provides for certain exemptions to the Standing Order.
Case 1:21-cv-01015-JLH           Document 657          Filed 12/05/24   Page 2 of 4 PageID #: 48955




           2.     A pretrial conference is scheduled for December 9, 2024 in Courtroom 2B.

           3.     Jury selection and courtroom setup is scheduled for December 13, 2024 in

 Courtroom 6D.

           4.     A 5-day jury trial is scheduled in this case from December 16-20, 2024 in Courtroom

 6D.

           5.     The following staff, representatives, trial consultants, and witnesses1 intend to

 appear at the pretrial conference, courtroom setup and/or the jury trial, require access to their

 electronic devices, but do not meet the exemptions listed in Paragraph 4 of the May 17, 2024

 Standing Order:

          Jitsuro Morishita, Attorney

          Elsa Doi, Paralegal

          Kathryn Thompson, Paralegal

          Melissa Trivett, Legal Practice Assistant

          Deryck Raske, Technology Support Analyst

          John Christian, Technology Support Analyst

          Layne Hastings, Technology Consultant

          Jason Sabol, Technology Consultant

          Peder Rudling, Technology Consultant

          Susan Fillichio, Consultant

          Shin’ichi Takeda, Witness

          Masaya Toda, Witness



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   Listing an individual as a “witness” does not imply or require either party to call such individual
 to testify or make such individual available to testify at trial.


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Case 1:21-cv-01015-JLH       Document 657        Filed 12/05/24     Page 3 of 4 PageID #: 48956




       Naoki Watanabe, Witness

       Kazuchika Takagaki, Witness

       Mami Hino, Attorney

       Shogo Sashihara, Attorney

       Aya Miyazaki, Attorney

       Kazuhira Kobayashi, Client Representative

       Masafumi Shintani, Client Representative

       Yumi Schweizer, Interpreter

       Yaejoong Kim, Interpreter

       Madoka Murakami, Interpreter

       Paul Hersey, Interpreter

       Dan Foy, Witness

       Leslie Magnus, Witness

       Michelle Hastings, Witness

       Mark Hosfield, Witness

       Nick Labraco, Consultant

       Scott Kamholz, Witness

       Jonathan Strober, Witness

       Matthew Wood, Witness


         WHEREFORE, NS respectfully requests that the Court issue an order, in the form attached

  hereto, to exempt certain persons from the District of Delaware’s May 17, 2024 Standing Order.




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Case 1:21-cv-01015-JLH       Document 657       Filed 12/05/24   Page 4 of 4 PageID #: 48957




  December 5, 2024                                    Respectfully submitted,
                                                      MORGAN, LEWIS & BOCKIUS LLP

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